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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,
              Plaintiff,
                                                  CASE NO: 4:17CR3123
      vs.

CRYSTAL LARAE STABLER,                             DETENTION ORDER
              Defendant.



      The defendant poses a serious risk of flight if released.            On the
government's motion, the court held a detention hearing under the Bail Reform
Act, 18 U.S.C. § 3142(f). The court concludes the defendant must be detained
pending trial.

      Based on the information of record, the court finds by a preponderance of
the evidence that the defendant's release would pose a risk of nonappearance at
court proceedings, and by clear and convincing evidence that the defendant's
release would pose a risk of harm to the public

      Specifically, the court finds that the defendant has a criminal history of
violating the law and court orders; violated conditions of release previously
imposed by a court; has a history of providing false information to law
enforcement; is addicted to or abuses mood-altering chemicals and is likely to
continue such conduct and violate the law if released; lacks a stable residence;
has limited employment contacts; has mental health issues which will pose a risk
of harm if the defendant is released; and conditions which restrict Defendant’s
travel, personal contacts, and possession of drugs, alcohol, and/or firearms;
require reporting, education, employment, or treatment; or monitor Defendant’s
movements or conduct; or any combination of these conditions or others
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currently proposed or available (see 18 U.S.C. § 3142(c)), will not sufficiently
ameliorate the risks posed if the defendant is released.

                         Directions Regarding Detention

      The defendant is committed to the custody of the Attorney General or a
designated representative for confinement in a corrections facility separate, to
the extent practicable, from persons awaiting or serving sentences or held in
custody pending appeal. The defendant must be afforded a reasonable
opportunity to consult privately with defense counsel. On order of the United
States Court or on request of an attorney for the Government, the person in
charge of the corrections facility must deliver the defendant to the United States
marshal for a court appearance.

      Dated November 20, 2017.

                                            BY THE COURT:
                                            s/ Cheryl R. Zwart
                                            United States Magistrate Judge
